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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

  (1)    MARILYN ANN PHILLIPS,        )
                                      )
                    Plaintiff,        )
                                      )
  -vs-                                )    No. 17-CV-547-JHP-JFJ
                                      )
  (1) FARMERS INSURANCE               )
  COMPANY, INC.,                      )
                                      )
                    Defendant.        )

                  DEFENDANT'S EXHIBIT LIST (PRELIMINARY)

         COMES NOW the Defendant, Farmers Insurance Company, Inc., and

  submits its list of Exhibits pursuant to the Court's Scheduling

  Order.

         1.    Med Center Records of 08-27-2012;

         2.    Tulsa Neurospine records;

         3.    Warren Clinic records;

         4.    St. Francis Hospital MRI, cervical spine report and films
               of 04-26-2013;

         5.    St. Francis Hospital physical therapy records;

         6.    St. Francis Hospital EMG report of 08-07-2013;

         7.    St. Francis Hospital cervical x-ray report and films of
               07-25-2013;

         8.    Envision Imaging cervical MRI report and films of 05-20-
               2015;

         9.    Envision Imaging cervical x-rays an films of 05-20-2015;

         10.   Transcript of examination under oath of Marilyn Phillips
               taken 12-23-2015;

         11.   Neurological Center of Oklahoma EMG report of 08-17-2015;

         12.   St. Francis Hospital records;
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        13.   Oklahoma Surgical Hospital records;

        14.   Tulsa Bone and Joint Associates records;

        15.   Records of the Eye Institute;

        16.   Records of Surgery Works;

        17.   Records of Ophthalmology Consultants;

        18.   Records of Pinnacle Speciality Hospital;

        19.   Records of Tulsa Dermatology Clinic;

        20.   Records of Union Pine Surgery Center;

        21.   CV of James Phillip Hutton, M.D.;

        22.   Case Control Study of the Effect of Mechanical Trauma on
              the Risk of Herpes Zoster by S.L. Thomas, J.G. Wheeler
              and Andrew J. Hall, published in the British Journal of
              Medicine on January 23, 2004;

        23.   Association of Physical Trauma With Risk of Herpes Zoster
              Among Medicare Beneficiaries in the United States, by
              John X. Zhang, et al., published in the Journal of
              Infectious Diseases in 2013;

        24.   Psychological Stress As A Trigger For Herpes Zoster:
              Might The Conventional Wisdom Be Wrong?, by Rafael
              Harpaz, et al., published in Clinical Infectious
              Diseases, in 2015;

        25.   Materials relied upon by expert witnesses;

        26.   Materials identified in discovery;

        27.   Exhibits listed       by   Plaintiff    not   objected    to   by
              Defendant.

                                Respectfully submitted,

                                TAYLOR, RYAN, MINTON. &, VAN DALSEM, P.C.


                                BY s/Robert Taylor
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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of April, 2018, I
  electronically transmitted the foregoing document to the Clerk of
  the Court using the ECF System for filing and transmittal of a
  Notice of Electronic Filing to the following ECF registrants:

  Anthony M. Laizure
  tlaizure@laizurelaw.com



                                      s/Robert Taylor
                                      ROBERT TAYLOR




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